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         Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 1 of 43                           Shirley Faust
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Brooks Siegel, Esq.                                                                       DV-32-2021-0000802-OC
3323 NE 163rd Street, Suite 504                                                                 Larson, John W
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North Miami Beach, Florida 33160
Tel. No.: (888) 415-0610
eservice@lemonlawgrouppartners.com
Attorney for Plaintiffs Lelani R. Snyder and
Joseph P. Maniscalco


      MONTANA FOURTH JUDICIAL DISTRICT COURT, MISSOULA COUNTY


LELANI R. SNYDER and                                              Cause No.:
JOSEPH P. MANISCALCO

       Plaintiffs,                                                Department No.:

       v.                                                         Judge:

MERCEDES-BENZ USA, LLC,
a Foreign Limited Liabiltiy Company and
JAYCO, INC.,
a Foreign Profit Corporation                                      COMPLAINT

       Defendants.

                               JURY TRIAL DEMANDED
                            COMPLAINT AND JURY DEMAND

       NOW COME Plaintiffs, Lelani R. Snyder and Joseph P. Maniscalco (hereinafter

“Plaintiffs”), by and through their attorneys, Brooks Siegel and Lemon Law Group Partners

PLC, and submit the following as their Complaint against Defendants Mercedes-Benz USA,

LLC and Jayco, Inc.

                          PARTIES, JURISDICTION AND VENUE

    1. Plaintiffs Lelani R. Snyder and Joseph P. Maniscalco are individuals residing at 1320

       Sunset Blvd. South, Cody, Wyoming 82414.

   2. Defendant Mercedes-Benz USA, LLC (hereinafter “Defendant Chassis Manufacturer” or

       “Defendant Mercedes-Benz”) may be served through its registered agent, CT Corporation
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   System, 3011 American Way, Missoula, Montana 59808.

3. Defendant Jayco, Inc. (hereinafter “Defendant Motorhome Manufacturer” or “Defendant

   Jayco”) may be served through its registered agent, CT Corporation System, 334 North

   Senate Avenue, Indianapolis, Indiana 46204.

4. The transactions and occurrences involved in this action took place in the State of

   Montana, County of Missoula.

5. This court has jurisdiction over this action by virtue of Rule 3(A)(1)(c)(ii) of the Montana

   Rules of Civil Procedure.

                                COMMON AVERMENTS

6. On or about June 18, 2020, Plaintiffs purchased a new 2020 Jayco Melbourne 24LP

   motorhome, VIN: 24LPWDAPF4CD0KN049811 (hereinafter “Subject Vehicle”) at an

   Authorized Dealership located in the State of Montana. Please see Exhibit A: Purchase

   Agreement.

7. At the time of purchase, the Subject Vehicle was accompanied by factory warranties

   which, in relevant part, provided for a Jayco two (2) year limited warranty and a

   Mercedes-Benz five (5) year/100,000 mile Powertrain warranty and three (3) year/36,000

   mile chassis warranty (the “Warranties”). Please see Exhibit B: Pertinent Portion of

   Warranties. Full warranties are in Defendants’ Possession.

8. The Subject Vehicle was purchased primarily for personal, family, and/or household

   purposes.

9. Defendants’ warranties covered any repairs or replacements needed during the warranty

   periods and/or due to defects in factory materials or workmanship.

10. In fact, when delivered, the Subject Vehicle was defective in materials and workmanship,
     Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 3 of 43



   such defects being discovered within the warranty periods and repairs were attempted.

11. Shortly after purchase, Plaintiffs noticed defects in the Subject Vehicle and returned the

   Subject Vehicle to Authorized Dealerships on at least five (5) occasions to repair defects

   to the Subject Vehicle including: knocking noise from engine area despite numerous

   repair attempts, twenty-four (24) hydraulic elements on engine necessitating replacement,

   two (2) camshafts necessitating replacement, twelve (12) rocker arms necessitating

   replacement, knocking noise persists despite replacement of numerous parts, vehicle

   required towing in to service on numerous occasions, AdBlue system fault message

   illuminating, sensors replaced due to defects, DPF (Diesel Particulate Filter) defects

   despite numerous repair attempts, exhaust system defects despite numerous repair

   attempts, black tank dump valve defects necessitating replacement, furnace line kinked,

   and stovetop will not light. Please see Exhibit C: Repair Orders.

12. Subject Vehicle has been out-of-service for at least fifty-six (56) total days for the

   aforementioned repairs. Please see Exhibit C.

13. Despite the prolonged time during which the Subject Vehicle has been out-of-service,

   Defendants have failed to repair the Subject Vehicle so as to bring it into conformity with

   the warranties set forth herein.

14. The defects experienced by Plaintiffs with the Subject Vehicle substantially impaired its

   use, value, and safety to the Plaintiffs, and have shaken the Plaintiffs’ faith in the vehicle

   to operate as dependable transportation.

15. Despite Plaintiffs’ repeated efforts to allow Defendants the opportunity to conform the

   Subject Vehicle, many nonconforming and defective conditions were not repaired, and

   still exist.
     Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 4 of 43



16. The Subject Vehicle still has issues including engine defects and stovetop defects.

17. Plaintiffs directly notified Defendants of the defective conditions of the vehicle on

   numerous occasions and that they desired a buy-back of the Subject Vehicle, wherein

   Defendants failed and refused to buy back Plaintiffs’ defective Subject Vehicle and to

   reimburse Plaintiffs pursuant to their rights under State and Federal Laws. Please see

   Exhibit D: Written Notification.

18. This cause of action arises out of the Defendants’ Breach of Warranty and violation of

   the Federal Magnuson-Moss Warranty Act, as well as Defendant Mercedes-Benz’s

   violation of the Montana Lemon Law as set forth in this Complaint.

19. Plaintiffs seek judgment against Defendants in whatever amount Plaintiffs are entitled to,

   including equitable relief, consequential damages, along with the costs and expenses of

   this action.

20. There is no other pending or resolved civil action arising out of the same transaction or

   occurrence alleged in this Complaint.

                                     COUNT I
                          BREACH OF FACTORY WARRANTY

21. Plaintiffs fully repeat and incorporate Paragraphs 1 through 20, as set forth above.

22. Defendant Jayco extended to Plaintiffs a two (2) year limited warranty. Defendant

   Mercedes-Benz extended to Plaintiffs a five (5) year/100,000 mile Powertrain warranty

   and three (3) year/36,000 mile chassis warranty (the “Warranties”).

23. Plaintiffs, seeking to repair the Subject Vehicle, attempted to exercise Plaintiffs’ rights

   under the Warranties.

24. Defendants have failed to honor the terms of the Warranties.
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   25. Defendants have failed or refused to repair the issues which include engine defects and

       stovetop defects.

   26. As a result of the actions set forth above, Defendants have breached their warranties.

   27. As a result of Defendants’ breach of warranty, Plaintiffs have, and will continue to, suffer

significant monetary and consequential damages.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter Judgment

in favor of Plaintiffs and against Defendant in an amount to be proven at trial, including all

consequential damages, incidental damages, equitable remedies, costs, interest, and attorney fees.


                                   COUNT II
                     BREACH OF MAGNUSON-MOSS WARRANTY ACT

   28. Plaintiffs fully repeat and incorporate Paragraphs 1 through 27, as set forth above.

   29. This Court has jurisdiction to decide claims brought under 15 USC § 2301 et seq., by

       virtue of 15 USC § 2310(d)(1)(A).

   30. Plaintiffs are “consumer”s as defined by 15 USC § 2301(3).

   31. Defendants are “supplier”s and “warrantor”s as defined by 15 USC § 2301(4)(5).

   32. The Subject Vehicle is a “consumer product” as defined by 15 USC § 2301(6).

   33. 15 USC § 2310(d)(1)(A), requires Defendants, as warrantors, to remedy any defects,

       malfunction or non-conformance of the Subject Vehicle within a reasonable time and

       without charge to Plaintiffs, as defined in 15 USC § 2304(d).

   34. The actions of Defendants as hereinabove described, in failing to tender the Subject

       Vehicle to Plaintiffs free of defects and refusing to repair or replace the defective vehicle

       tendered to Plaintiffs, constitute a breach of the written warranties covering the Subject

       Vehicle; and thus, constitute a violation of the Magnuson-Moss Warranty Act.
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35. Despite repeated demands and despite the fact that the Plaintiffs have complied with all

   reasonable terms and conditions imposed upon them by Defendants, Defendants have

   failed and refused to cure any defects and non-conformity with the Subject Vehicle.

36. As a result of Defendants’ breach of factory warranty as set forth above, and Defendants’

   failure to honor their obligations under their warranties, Plaintiffs have, and will continue

   to, suffer damages as enumerated above.

37. Defendants had a reasonable opportunity to remedy the defects in the vehicle but have

   failed to do so, thereby entitling Plaintiffs to a refund of the purchase price pursuant to

   the Magnuson-Moss Warranty Act.

38. Pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C. § 2310(d)(2), Plaintiffs are

   entitled to recover as part of the judgment, costs and expenses of the suit including

   attorney’s fees based on actual time expended.

                               COUNT III
                   MONTANA CODE ANN. §§ 61-4-501 - 61-4-533
                             “LEMON LAW”

39. Plaintiffs fully repeat and incorporate Paragraphs 1 through 38, as set forth above.

40. Plaintiffs are “consumer”s under the Montana Lemon Law, MT Code Ann. § 61-4-501

   (2).

41. Defendant Mercedes-Benz is a “manufacturer” under the Montana Lemon Law, MT

   Code Ann. § 61-4-501 (4).

42. The “warranty period” is defined as the period ending two (2) years after the date of the

   original delivery to the consumer of a new motor vehicle or during the first 18,000 miles

   of operation, whichever is earlier, MT Code Ann. § 61-4-501 (7).

43. The Subject Vehicle is a “motor vehicle” under the Montana Lemon Law, MT Code Ann.
     Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 7 of 43



   § 61-4-501 (5) (a).

44. It is presumed that a reasonable number of attempts have been undertaken to conform a

   motor vehicle to the warranty if either of the following occur,

           (1) the same nonconformity has been subject to repair four (4) or more times by

           the manufacturer or its agent or authorized dealer during the warranty period but

           the nonconformity continues to exist, MT Code Ann. § 61-4-504 (1); or

           (2) the motor vehicle is out of service because of nonconformity for a cumulative

           total of thirty (30) or more business days during the warranty period after

           notification of the manufacturer, agent, or dealer, MT Code Ann. § 61-4-504 (2).

45. During the warranty period, the Subject Vehicle was subject to repair on at least five (5)

   occasions and was out of service by reason of repair for at least fifty-six (56) days. All

   attempted repairs were unsuccessful as the Subject Vehicle continues to have the

   aforementioned defects.

46. The aforementioned defects substantially impair the use or value of the Subject Vehicle

   to Plaintiffs and prevent the Subject Vehicle from conforming to the Defendant

   Mercedes-Benz’s factory warranties.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for judgment as follows:

   (1)     For actual damages according to proof at trial;

   (2)     For a refund of the purchase price of Subject Vehicle;

   (3)     For Defendants to accept return of Subject Vehicle;

   (4)     For attorney’s fees and costs of suit incurred herein;

   (5)     For such other and further relief as the court deems just and proper under
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      the circumstances;

(6)   That all issues be tried before a jury.



Dated: _22nd day of _June_, 2021


                              Respectfully submitted,

                              LEMON LAW GROUP PARTNERS PLC

                      By:     /s/ Brooks Siegel
                              Brooks Siegel
                              LEMON LAW GROUP PARTNERS PLC
                              3323 NE 163rd Street, Suite 504
                              North Miami Beach, FL 33160
                              Telephone: (888) 415-0610
                              Fax: (888) 809-7010
                              Attorneys for Plaintiffs
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EXHIBIT A
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21, Propane System                                                                                                                       the mantigature6 imiledwarrantin.)
  M Location and Maintenance ofPropane                                                                IntGear-Towable Only
                                               S.interior                                        BrakeAdjustmmlentand Maintenance
 I/ Lines and Connections
                                                I' :'Curtain/Drapes/Valances/Binds              Bearksi   tpbrication and Maintenance
      Maintenance and Operation of Regulator           eds/Cotiches/Taties
      Propane Mcinorrteter Test(Check for                                                 i    _Brake Wire:Connections
                                                    frire Extinguisher(Checlitharge Only)       Hydraulic Brake Fluid and maintenance
      leaks-repair if needed and retest) Set      v- Vaerior Trim and Sealants               r A-Frame/Coupler Operation
     Propane Pressure at    '7       in. Water      ASAndows - Cranks                           Operate and tube Jacks
     Column                                           Mechanism/Slides/etc.
Le_ Outside Grin Use and Operation                                                              Tires  -Condition and Pressure Set
                                                                                           -._. Ire PreStlire              psi
Owner/Dealer Inspection
1. Exterior and interiorfinish.
2. Operate all appliances,optional equipmentand:accessoriesand                                    5. Operate all fresh water and plumbhig components Including faucets,
                                                                    discuss maintenance.             shower,toilet anddrain lotitions.
3, Review operation, maintenance and safety ofPropan
                                                        e SYSten1                                 6. Review tow vehicle hitch and sway control Set-UP -test drive(towable only)
4. Explain weight ratings,limitations and proper load
                                                      distributiOn and maintenance.               7. Complete review of owner's manuals and highlight safety Issues.

I acknowledge that have been given the opportunity inspec
                                                     to      t'he RV,teice emst.driaa                             applicable)endMake
and observed and received satisfactory explanations about                                                                                               s in thespace provided
                                                         alfitemslisted above.

I certify that thedealer has performed the above inspection and;th
                                                                  at!have received; read and understand the Limited Warranty applic
product prior to purchase and I underitand the terms thereof and the                                                                able to thh
                                                                     intended useofthe product,
                        /7.0
                        A i,, ,t.7t7 r 1R'-`L iii
  Date   ,


                                                                                              (/
         ,

  CUSTOttERSIGNis RE
                                                                               DEALER SIGNATURE
     ,r                          Dealer is responsible to keep original copy on file
                                                                                     for a period of 1                             r
                                          Three copies required: Dealer, Customer and Manufacturer                                             warranty Registration Form-red
                                                                                                                                                                      10/12/11
Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 13 of 43




 EXHIBIT B
    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 14 of 43




•   JAYCO
    RVS
•   SHOPPING
    TOOLS
•   OWNER
    SUPPORT
•   JAYCO
    BLOG
•   ABOUT
    JAYCO
•   FIND
    DEALER



                       2020 MELBOURNE
                                            Built for any adventure
    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 15 of 43




•   View All Archived Products
•   Overview & Gallery
•   Floorplans & Prices
•   Standards & Options
•   Construction Detail
•   Warranty Info
•   Files & Downloads
•   View 2021 Melbourne
      Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 16 of 43



That's 730 days. In addition, our 3-year structural warranty
has you covered for 3 camping seasons or 1,095 days. You
won't find a better warranty in the business, because the only
strings we attach are those that deliver the ultimate in
reliability. That's the Jayco difference. So go explore. For a
copy of our 2-year limited + 3-year structural warranty with
complete terms and conditions, please contact your local Jayco
dealer.




   YEAR I YEAR
    LIMITED     STRUCTURAL


   WARRANTY
                                The Jayco 2-Year Limited Warranty covers
you for 24 months, or 24,000 miles for motorized products, whichever
comes first, from the original date of purchase. That's 730 days, two full
camping seasons. No matter how you slice it, it's coverage that lasts twice
as long as the industry standard.

And the support from Jayco doesn't end there. Starting with our 2020
models, a third year of structural warranty coverage is also
included, standard. This includes any structural components such as
laminated walls, roof and floor assembly. That's 3 camping seasons or 1,095
days. Travel with confidence and go explore in your Jayco today.

 Click here for more information regarding our industry leading warranty.

            YOU'LL FIND IT'S THE BEST IN THE BUSINESS!
Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 17 of 43




 EXHIBIT C
Oct 08 2020 OHOPM Rawhide Well Service, LLC 3075876237                                                                                 page 7
                                      Case5
                                          19:21-cv-00091-DWM
                                                Time         Document
                                                               5bto P 3 Filed 08/19/21 Page 18 of 43
                                                                                                                                                 ROOffmDate               R/O Number
                                                            3045 King Ave. West                                                                 7/13/20                 6025655/
                                                             Billings, MT 59102                               SERVICE DEPARTMENT HOURS          RiO Close Date            Status
                                                                                                                  7i30 a.m. to 5i30 p.m.
    Mercedes-Benz                                           (406)294-7000
                                                            wenn.mbbIllings.com
                                                                                                                     Monday - Friday
                                                                                                                                                7/22/20
                                                                                                                                                  Mileage le
                                                                                                                                                                      Pre-Invoic
                                                                                                                                                                           Mileage Out
                       of Billings
                                                                                                                                                        SodoicoAdvittori -Utod

     MANISCALCO, JOE                                                                                                                            RYAN BURT
                                                                                                                     Work Pnene                      Vehicle Identification Number
     PO BOX 2274
     CODY, WY 82414                                                                                                                               WD PF4CDOKNO49811
                                                                                                                     Home Phone                  Delivery, Date          In-Service Dale

       Year
                                                                                                           307-250-1731
                  1                 Make                                     Model                                      Body                        Color
    2019                                                                                                                                                                License Number
                        MERCEDES-BENZ SPRINTER CAB                                                         3500XD STANDARD


              DESCRIPTION OE SERVICE AND PARTS
    Emai : josep pmanisca coagmai .com                                                                                                                                     AMOUNT


    #1 - MBNOISE: MBNOISE
          Customer states there is a knocking
                                                noise coming
         from the engine area. Please advi
                                             se
            Caused by
            performed noise locate and diag of
                                                 knocking
            noise/ performed short testing, no
                                                 fault codes
            were present. as per fts recommendati
                                                    on, removed
            lower oil pan to inspect for metal
                                                 shaving and or
            damage.removed lower oil pan, no dama
                                                    ge found, no
            problems were identified. performed
                                                  check for
            noise on upper engine area, inspecte
                                                  d injector
            actual values for adaptation corr
                                               ections and
            performed leak down testing.found inje
                                                     ctor leak
         Installed 003 989 98 20 10 :SEALANT
                                                 MB                                                                                             Qty:     1          Warranty
         Installed 611 017 00 60 :SEAL RING
         Installed 642 070 12 87 80 :REMAN INJE                                                                                                 Qty:     3          Warranty
                                                  CTOR F COMMO                                                                                  Qty:     2          Warranty
         Core Chg 642 070 12 87 70 :CORE INJE
                                                CTOR F COMMON                                                                                   Qty:     2          Warranty
         Installed 000 990 29 07 :SCREW W
                                            FLANGE                                                                                              Qty:     3          Warranty
         Installed 642 070 12 87 87 :REMAN INJE
                                                  CTOR F COMMO                                                                                  Qty:     1          Warranty
         Core Chg 642 070 12 87 70 :CORE INJE
                                                CTOR F COMMON                                                                                   Qty:     1          Warranty
         Installed 642 050 03 11 :CHAIN
                                          TIGHTENER                                                                                             Qty:     1          Warranty
         excessive, rtpla,...eu     end retested.
         knocking still present, removed engi
                                                ne cylinder
        head cove and inspected cams/
        and                 found excessive play in all



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS
                                                          ARE MADE. I hereby authorize the repair
work hereinafter to be done along with :he necessary                                                        LABOR
                                                              material and agree that you are not
responsible for loss or damage to vehicle or articles
                                                      left in the vehicle in case of fire. theft, or any    PARTS
other cause beyond your control or for any delays
                                                      caused by unavailability of parts or delays in
Parts shipments by tie supplier or transporter, I                                                           DEDUCTIBLE
                                                  hereby grant you or your employees permission to
operate the vehicle herein described on streets,
                                                  highways, or elsewhere for the purpose of testing
and/or inspection, An express mechanic's lien is hereby                                                     SUBLET
                                                           acknowledged on above vehicle to secure
the amount of repairs thereto."
                                                                                                            SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties                                                                    HAZARDOUS MATERIALS
                                                    on the products sold hereby are those made by
the manufacturer. The seller hereby expressly disclaims
                                                            all warranties either express or implied.       SALES TAX OR TAX I.D.
including any implied warranty of merchantability
                                                   or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for                                               SPECIAL ORDER DEPOSIT
                                                                  it any liability In connection wth the
 ale of said products. Any limitation contained herein does not apply
                                                                        where prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS
                                              OR SPECIAL ORDERS.

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  ,20,,BMALERTRA,SYS            -0.1er6hiDA0olioalfoLGrouo10001D45.10221
Oct 08 2020 02:OOPM Rawhide Well Service, LLC 3075876237                                                                            page 8

                                     Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 19 of 43
                                                                                                                                              WO Open, Date            RD Number
                                                       3045 King Ave. West                                                                   7/13/20                   6025655/2
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS        R/O Close Date      I        Status
                                                                                                                 7:30 a.m. to 5:30 p.m,
                                                      (408)294-700D                                                                          7/22/20
  Mercedes-Benz                                        www.mbbillings.com
                                                                                                                    Monday - Friday
                                                                                                                                               Mileage In
                                                                                                                                                                     Pre-Invoic
                                                                                                                                                                        Mileage Or
                      of Billings
                                                                                                                                                     Service Advisor / Tag #
                                                                                                                                             RYAN BURT
       ISCALCO, JO                                                                                                   Vvork Phone                  Vehicle Identification Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                             WDAPF4CDOKNO49811
                                                                                                                     Home Phone                                       In-Service Date
                                                                                                        307-250-1731
                                                                             Model                                      Body                     Color                License Number
    2019               MERCEDES-BEN                           SPRINTER CAB                                  3500XD STANDARD


              DESCRIPTION OF SERVICE AND PARTS
                 roc er arms an. c earance o more t                                                                                                                     AMOUNT
                                                     an specs ie•
                 rocker arms can be wiggled and loosely pick
                                                              out
                 of cylinder head port holes without remov
                                                            ing
                 cams. as per directions of fts, replaced
                                                           cams and
                 all hydraulic elements and rocker
                 arms.reinstalled and rechecked for noise.on
                 initial starting, no noise present, after
                                                            running
                 for extended periods. the knocking retur
                                                          ned and
                 was present with fuel injector sequencing,
                 located the ignition knock to be the injec
                                                            tor
                 cylinder 1, replaced and re codded.

   #2 - MBRECALL: RECALL
        Perform recall 2020040019 - VS3BAUTOP
        Auto Park Function (Manual)
          Caused by
          completed recall 02-1813 0.1
        completed recall 02-1813 0.1

  #3 - MBRECALL: RECALL
       Perform recall 2020040023 - VS3BRADVER
       Front Axle Brake Hose
         Caused by
         completed recall 021773 0.2 02-1796 0.1
       completed recall 021773 0.2 02-1796 0.1

  #4 - MB01: PERFORM VEHICLE SAFETY INSPECTION.
                                                A 39.95 VALUE



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE
                                                                 MADE. 1 hereby authorize the repair        LABOR
work hereinafter tc be done along will the necessary material and
                                                                              agree that
responsible far loss or damage to vehicle cr articles left in the \replete in case of fire, you are not     PARTS
                                                                                            theft, or any
Other cause beyond your control or for any delays caused by unavailabilit
                                                                                y of parts or delays in
parts shipments by the supplier or transporter. I hereby grant                                              DEDUCTIBLE
                                                                 you or your employees permission to
operate the vehicle herein described on streets, highways, elsewhere
                                                              or             for the purpese of testing     SUBLET
andfor inspection. An express mechanic's I en is hereby acknowledged on
                                                                               above vehicle re secure
the amount of repairs 'hereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products Sold hereby
                                                                                   are those made by
                                                                                                            HAZARDOUS MATERIALS
the manufacturer. The setter hereby expressly disclaims all
                                                               warranties either express or implied,        SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a
                                                                   particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it any liability                              SPECIAL ORDER DEPOSIT
                                                                                in connection with the
sale of said products. Any limitation contained herein does not apply where prohibited
                                                                                         by law.            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

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Oct 08 2020 02:01PM Rawhide Well Service, LLC 3075876237                                                                            page 9
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 20 of 43
                                                                                                                                              R/0 Open Date              RIO Number
                                                       3045 King Ave. West                                                                   7/13/20                     6025655/3
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS        RIO Close Date                 Status
                                                                                                                 7i30 am. to 5r30 p.m.
   Mercedes-Benz                                      (406)294.7000
                                                                                                                    Monday - Friday
                                                                                                                                             7/22/20                   Pre-Invoice
                                                       ww✓.mbbillings.com                                                                       Mileage In                Mileage Out
                      of Billings
                                                                                                                                               2327                        2333
                                                                                                                                                     Service civic.'    Tag ft

    MANISL.ALCO, JOE                                                                                                                         RYAN BURT
                                                                                                                     Work Phone                   Vehicle Identification Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                             WDAPF4CDOKNO49811
                                                                                                                     Home Phone               Delivery Date             In-Service Date
                                                                                                           307-250-1731
      Year       I                 Make                                     Model                                       Body                     Color
    2019                                                                                                                                                               License Number
                       MERCEDES-BENZ SPRINTER CAB                                                          3500XD STANDARD


              DESCRIPTION OF SERVICE AND PARTS
                       AT NO 'ST TO YO                                                                                                                                    AMOUNT

                   Caused by
                   inspection
                 inspection
                 ENVIRONMENTAL/ HAZMAT FEE
                   Sub Total: .00

    #5 - MBMILEAGE: MILEAGE IN/OUT BY
                                      TECHNICIAN
           Caused by
           after re coding injector , performed
                                                bench
           testing for noise and no further noise
                                                   was
           present, found the injectors were leaking
                                                      down
           excessive amounts and caused the vehicle
                                                     to smoke
           for extended period, performed regen
                                                and cleared
           all residue in exhaust, test drove to verif
                                                       y all
           drive ability and engine operations are
                                                    normal,
           no further noise concerns or drive
                                              ability
           concerns found. vehicle was returned to
                                                    customer.
         ENVIRONMENTAL/ HAZMAT FEE
           Sub Total: .00

  #6 - MBTOWING: TOWING
         Caused by
         rpo
       tow
       ENVIRONMENTAL/ HAZMAT FEE
         Sub Total: .00



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE
                                                                MADE, "I hereby authorize the repair        LABOR
work hereinafter to be done along with the necessary material
                                                                        and agree that you are not
responsible for loss or damage to vehicle or articles left in the
                                                                  vehicle in case of fire, theft, or any    PARTS
other cause beyonc your control or for any delays caused by
                                                                   unavailability of parts or delays in
Parts shipments by the supplier or transporter. I hereby grant                                              DEDUCTIBLE
                                                                yov or your employees permission 10
operate the vehicle herein described on streets, highways, or
                                                                elsewhere for the purpose of testing        SUBLET
and/or inspection. An express mechanic's Ilen is hereby acknowledg
                                                                        ed on abovevehicle lo secure
the amount of repairs thereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the
                                                           products sold hereby are those made by           HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all
                                                               warranties either express or implied,        SALES TAX OR TAXI!).
including any implied warranty of merchantability or fitness
                                                             for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume fork any liability                                SPECIAL ORDER DEPOSIT
                                                                               in connection with the
sale of said products. Any limitation contained herein does not
                                                                apply where prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY II-EMS
                                               OR SPECIAL ORDERS.

X
Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                              page 10
                                     Case 9:21-cv-00091-DWM
                                             •              Document 3 Filed 08/19/21 Page 21 of 43
                                                                                                                                                 RIO Open Date           RIO Number
                                                       3045 King Ave, West                                                                      7/13/20                  6025655/4
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS           RIO Close Date     I        Stott
                                                       (406)294-7000
                                                                                                                 7:3C  a.m. to 5:30
                                                                                                                                 p.n.
                                                                                                                                                7/22/20
  Mercedes-Benz                                                                                                     Monday - Friday
                                                                                                                                                                       Pre-Invoic
                                                       wmoombbillings.com                                                                          Mileage In             Mileage Out
                         of Billings


                                                                                                                                                RYAN BURT
        S 4 CO, JO                                                                                                   Work Phone                      Vehicle IdenTithotext Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                                WDAPF4CDOKNO49811
                                                                                                                     Home Phone                  Delivery Date          In-Service Date
                                                                                                        307-250-1731
                                                                             Model
                                                                                                                                                    Color                    II: Number
    2019                 MERCEDES -BENZ SPRINTER CAB                                                        3500XD STANDARD


              DESCRIPTION OF SERVICE AND                       PARTS                                                                                                      AMOUNT

    #7 * MBADD: ADDED REPAIR
         ADDED OPERATION
           Caused by
           performed recheck of basic cam positioning and
           timing chain allocations, re sealed engine cover.
           5.6
         Tech: James McElroy       (107)
         Installed 642 050 00 80 :                                                                                                                                           924.00
         Installed 611 990 05 22 :
         Installed 611 990 00 10 :SCREW
                                                      HEAD                            11111111111,1!:.                                          24@46.80
                                                                                                                                                  342.44
                                                                                                                                                                            1123.20
                                                                                                                                                                               7.32
                                                                                                                                                  347.32                      21.96
         Installed 642 050 61 01 :
                                                                                                                                                14702.00                     702.00
         Installed 642 050 46 01 :
                                                                                                                                                14735.80                     735.80
         Installed 642 050 01 33 :
                                                                                                                                                 1436.90                      36.90
         Installed 642 050 01 33 :
                                                                                                                                                11436.90                     405.90
         performed recheck of basic cam p    ioning and
         timing chain allocations, re sealed engine
                                                    cover.
         5.6
         ENVIRONMENTAL/ HAZMAT FEE
           Sub Total: 3977.08                                                                                                                                                   20.00

  #8 * MBADD: ADDED REPAIR
       ADDED OPERATION
       Tech: James McElroy       (107)
       Installed 000 990 29 07 :SCREW W FLANGE                                                                                                                         Internal
       Installed 611 017 00 60 :SEAL RING                                                                                                                              Internal
       Installed 003 989 98 20 10 :SEALANT MB                                                                                                                          Internal
                                                                                                                                                                       Internal



TERMS: STRICTLYCASH UNLESS ARRANGEMENTS ARE MADE. 'I
                                                                         hereby authodze the repair         LABOR
work hereinafter to be done along with the necessary
                                                             material and agree that you are not
responsible for loss or damage to vehicle or ailiclea lea in the vehicle case                               PARTS
                                                                        in      of Ire, theft, or any
other cause beyond your control or for any ddays caused by unavailability
                                                                              of parts or delays in
pads shipments by the supplier or transporter. I hereby grant you or your employees                         DEDUCTIBLE
                                                                                      permission to
operate the vehic a herein described on streets, highways, or elsewhere for
                                                                             the purpose of testing         SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged
                                                                         on above vehicle to secure
the amount of repairs thereto'                                                                              SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby                                        HAZARDOUS MATERIALS
                                                                                      are those made by
the manufacturer. The seller hereby expressly disclaims es warranties either
                                                                                      express or implied.   SALES TAX OR TAX I.D.
Including any implied warranty of merchantability or fitness for a particular
neither assumes nor authorizes any other person to assume                        purpose, and he seller
                                                              for it any liability in connection with the   SPECIAL ORDER DEPOSIT
sale of said produsts. Any limitation containec herein does not apply where
                                                                                prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




       NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL
                                                          ORDERS,

X
    1.110.651-0FagMAD,
Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                          page 11
                                   Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 22 of 43
                                                                                                                                             RIO Open Dale             RIO Number
                                                     3045 King Ave. West                                                                    7/13/20                    6025655/5
                                                     Billings, MT 59102                                   SERVICE DEPARTMENT HOURS           RIO Close Dote                  Status
                                                                                                              7:30 a.m. to 5:30 p.m.
                                                    (406)294-7000                                                                           7/22/20                Pre-Invoic
 Mercedes-Benz                                       www.mbbillings.com
                                                                                                                 Monday - Friday
                                                                                                                                               Mileage In            Mileage Out
                     of Billings
                                                                                                                                               2327                    2333
                                                                                                                                                     Service Advisor / Tag
                                                                                                                                            RYAN BURT
    MANI C   •, J•                                                                                                Work Phone                      Vehicle Identifical on Number
    PO BOX 2274
                                                                                                                                               WDAPF4CDOKNO49811
    CODY, WY 82414                                                                                               I ion le Phone               Delivery Dale           In-Service Dale
                                                                                                     307-250-1731
      Year      I                 Make                                    Model                                      Bed;                        Color               License Number
    2019              MERCEDES-BENZ SPRINTER CAB                                                         3500XD STANDARD


             DESORPTION OF SERVICE AND PARTS
                                                                                                                                                                        AMOUNT
                ENVIR0NMENTAL                            HAZMAT FEE
    ******               *****************
                                                                                                                                                                   Interna
                                                                            *          ** ******** * *** * **dr** ** A* * ***
   * Like us on Facebook, Google or Yelp for a chance
                                                      to win *
   * your next service on us. A drawing will be held every
   * month.
   ************************************************************




                                                                                                         Total Fees Amount                                                     20.00
TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair
work hereinafter to be done along with the necessary material and agree that you are                     LABOR                                                                924.00
                                                                                                   not
responsible for loss or damage to vends or articles left in the vehicle in case of fire. theft, or any   PARTS                                                               3033.08
other cause beyond your control or for any delays caused by unavailability of parts or delays in
Parts shipments by the supplier or transporter. I hereby grant you or your employees permission to       DEDUCTIBLE                                                              .00
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing
and/or inspection. Ar express mechanic's lien Is hereby acknowledged on above vehicle to secure
                                                                                                         SUBLET                                                                  .00
 re amount of repairs thereto."                                                                          SHOP SUPPLIES                                                         92.40
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                   HAZARDOUS MATERIALS                                                     .00
the manufacturer. The seller hereby expressly disclaims all warranties either express o' implied,
including any implied warranty of merchantability or Illness for a particular purpose, and the seller
                                                                                                         SALES TAX OR TAX I.D.                                                   .00
neither assumes nor authorizes any other person to assume for it any liability in connection with the    SPECIAL ORDER DEPOSIT                                                   .00
sale of said products. Any limitation contained herein does not apply where prohibited
                                                                                        by Ida.          DISCOUNTS                                                               .00
                                                                                                         TOTAL DUE                                                           4069.48



      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

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Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                              page 12

                                                                                   ,A1 port
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 23 of 43
                                                                                                               Reipot 2                         R/0 Open Date             RIO Number

                                                     3045 King Ave, West                                                                        8/05/20                   6025903/1
                                                     Billings, MT 59102                                    SERVICE DEPARTMENT HOURS             Rio Close Date               Status
                                                                                                               7:30 a.m. to 5:30 p.m.
                                                    (406)294-7660                                                                               8/05/20               Pre-Invoic
Mercedes-Benz                                                                                                       Monday - Friday

                    of Billings
                                                     www.mbbillings.com                                                                           Mileage In              Mileage Out
                                                                                                                                                                                      a
                                                                                                                                                        Servico Advisor / Tag t

                                                                                                                                                RYAN BURT
  MANI ALC., JOE                                                                                                   Itiork Phone                      Vehicle ide-Ittkaliairqun
                                                                                                                                                                          Number
  PO BOX 2274                                                                                                                                     WDAPF4CDOKNO49B11
  CODY, WY 82414                                                                                                   Home Phone                    Delivery Date           In-Service Date
                                                                                                     307-250-1731                                                       7/11/19
    Year       I                 Make
                                                                                                                                                    Color               license Number
                     MERCEDES-BENZ


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                           AMOUNT
  Emai : josep pmanisca co@gmai .com

 #1             MBCEL: CUSTOMER STATES THAT THE CHECK ENGINE LIGHT IS ON
                  Caused by
                  perf rmed short testing, found codes for

                 performed testing as per fault code, checked
                 actual values of nox sensor/dpf soot content/
                 temp sensors/ dpf pressure sensor and adblue
                 fluid quality/fill level. no direct faults found.
                 reset adaptations and performed regen while
                 driving. no further cel active no further cel
                 on.no adblue malfunctions found no cel active no
               performed short test follow up after test drive,
               no codes found. all faults rectified and no
               further malfunctions found at this time. vehicle
               was returned to customer.
               ENVIRONMENTAL/ HAZMAT FEE
                 Sub Total: .00

 #2 - MBMILEAGE: MILEAGE IN/OUT BY. TECHNICIAN
        Caused by
        miles
      mies
      ENVIRONMENTAL/ HAZMAT FEE
        Sub Total: .00




TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair
                                                                                                           LABOR
work hereinafter to be done along with the necessary matenal and agree that you are not
responsible for loss or damage to vehicle or articles left in the vehicle in case of fire, theft, or any   PARTS
other cause beyond your control or for any delays caused by unavailability of parts or delays in
pads shipments by the supplier or transporter. I hereby grant you or your employees permission to          DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for ine purpose of testing         SUBLET
and/or inspection. An express mechanic's I.en is hereby acknowledged on above vehicle to secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied.          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for It any liability in connection with the      SPECIAL ORDER DEPOSIT
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.
Oct 08 2020 02:03PM Rawhide Well Service, LLC 3075876237                                                                            page 13
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 24 of 43
                                                                                                                                              R/0 Open Date
                                                                                                                                                                 111018:2111111
                                                     3045 Kng Ave. West                                                                       8/05/20                 6025903/2
                                                     Billings, MT 59102                                     SERVICE DEPARTMENT HOURS          RIO Close Dale             Sta k
                                                                                                                7:30 a.m. to 5:30 p.m.
                                                    (406) 294-7000                                                                            8/05/20              Pre -Invoice
Mercedes-Benz                                        www.mbbillings.com
                                                                                                                   Monday - Friday
                                                                                                                                                Mileage In             Mileage Out
                    of Billings                                                                                                                 2459                    2464
                                                                                                                                                      Service Advisor Tag A
                                                                                                                                              RYAN BURT
  MANISC LCO, JOE                                                                                                   \Nark Phone                    Vehicle Identdiczbon Number
  PO BOX 2274                                                                                                                                   WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                    Home Phone                 Delivery Dale         In-Service Date
                                                                                                      307-250-1731                                                   7/11/19
     Year                        Make                                      Model                                       Body                       Color              License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                            3500XD STANDARD R


            DESCRIPTION OF SERVICE AND PARTS                                                                                                                            AMOUNT
                MBTOWING: TOWING
                  Caused by
                  tow
                tow
                ENVIRONMENTAL/ HAZMAT FEE
                  Sub Total: .00
  ************************************************************

  * Like us on Facebook, Google or Yelp for a chance to win                                                                                       *
  * your next service on us. A drawing will be held every
  * month.
  ************************************************************




TERMS! STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. hereby authorize the repair                              LABOR                                                                 .00
work hereinafter to be done along witn The necessary material and agree that you are not
responsible for loss or damage to vehicle cr articles left In the vehicle in case of fire, theft, or any   PARTS                                                                  .00
other cause beyond your control or for any delays caused by unavailability Of parts or delays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to          DEDUCTIBLE                                                            .00
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing          SUBLET                                                                .00
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle to secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES                                                          .00
DISCLAIMER OF WARRANTIES, Any warranties on the products sold hereby are those made by                      HAZARDOUS MATERIALS                                                   .00
the manufacturer. The seller hereby expressly disclaims ell warranties either express or implied,           SALES TAX OR TAX I.O.                                                 .00
including any Implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it any liability in connection with the       SPECIAL ORDER DEPOSIT                                                 .00
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                            DISCOUNTS                                                             .00
                                                                                                           TOTAL DUE                                                              .00



      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.
Oct 08 2020 02:03PM Rawhide Well Service, LLC 3075876237                                                                           page 14
                                     Case 9:21-cv-00091-DWM Document 3 Filedgoer
                                         3 ka 1/A4                  5/4°P,
                                                                             08/19/21 Page Re
                                                                                           25 of 43
                                                                                                                                         -TheR.0 Open Date
                                                                                                                                                                  74
                                                                                                                                                                  -        RIO Number
                                       t-Se-rgeaterft. fera/"g 4-1347-4 '                                                          0,1       8/11/20                       6025957/1
                                                                   SERVICE
                                                     Billings, MT 59102                                            DEPARTMENT HOURS          RIO Close Date
                                                                                                               7:30 a.m. to 5:30 p.m.
                                                     (406) 294-7000                                                                          8/20/20
 Mercedes-Benz                                       wwW.mbbillings.com
                                                                                                                  Monday - Friday
                                                                                                                                                Mileage In
                    of Billings                                                                                                                2570                         2596
                                                                                                                                                     SeraceAdvisor/Tag
                                                                                                                                             RYAN BURT
  MANI   L 0, •                                                                                                        k Phone                     Vehicle icectif cation Number
  PO BOX 2274                                                                                                                                  WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                 Delivery Date            I   Servic Date
                                                                                                      307-250-1731                                                    7/11/19
     Year                         Make                                     Model                                     Rod'                         Color               License Number
  2019                MERCEDES-BENZ SPRINTER CAB                                                           3500XD STANDARD R


             DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                           AMOUNT
     mai : josep pmanisca co@ ma

  #1 - MBCEL: CUSTOMER STATES THAT THE CHECK ENGINE LIGHT IS ON
       Customer states vehicle has a code for DPF
       efficiency again. Please advise
         Caused by
         performed short testing, found def continent
         level high, performed check of regen history,
         found run time and regen not performed due tp
         prerequisites not met. reset adaptations and test
         drove, performed manual regen and reset scr
         adaptations. no further malfunctions were found
         at this time.
       performed short testing, found def continent
       level high, performed check of regen history,                                                                                                               5-e          ce
       found run time and regen not performed due tp                                                                                                                       Ad      Jo/C-
       prerequisites not met. reset adaptations and test
       drove, performed manual regen and reset scr
       adaptations. no further malfunctions were found
       at this time.
       ENVIRONMENTAL/ HAZMAT FEE                                                                                                                                       oLinso,,,1
         Sub Total: .00

  #2 - MBMILEAGE: MILEAGE IN/OUT BY TECHNICIAN
         Caused by
         miles
       miles



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE 'I hereby authorize tie repair
                                                                                                           LABOR
work hereinafter to be done along with the necessary material and agree that you are not
responsible far loss or damage to vehicle o" articles left in the vehicle in case of fire, theft, or any   PARTS
other cause beyond your control or for any celays caused by unavailability of parts or de ays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to         DEDUCTIBLE
operate the vehicle herein described an streets, highways, or elsewhere for the purpose of testing         SUBLET
and/or inspection. An express mechanic's Iler is hereby acknowledged on above vehicle to secure
the amount of repairs thereto:                                                                             SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties an the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied,          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, end the seller
neitherassumes nor authorizes any other person to assume for it any liability In connection with the       SPECIAL ORDER DEPOSIT
Sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPEC/AL ORDERS.
Oct 08 2020 02:04PM Rawhide Well Service, LLC 3075876237                                                                             page 15
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 26 of 43
                                                                                                                                               RIO Open Date             RIO Number

                                                    3045 King Ave West                                                                         8/11/20                   6025957/2
                                                    Billings, MT 59102                                    SERVICE DEPARTMENT HOURS             Ro0 Close Date
                                                                                                              7:30 a.m. to 5:30 p.m.
                                                   (406)294-7000                                                                               8/20/20
Mercedes-Benz                                       www.mbbillings.corn
                                                                                                                   Monday - Friday
                                                                                                                                                 Mileage In
                    of Billings                                                                                                                  2570                      2596
                                                                                                                                                       Service Advisor / Tag #

                                                                                                                                               RYAN BURT
  MANISCALCO, JOE                                                                                                  Work Phone                       Vehicle Idenlificatico Number
  PO BOX 2274                                                                                                                                    WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                   Delivery Date           In-Service Date
                                                                                                     307-250-1731                                                      7/11/19
    Year       I                 Make                                     Model                                      Budy                          Color               License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                           3500XD STANDARD R


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                          AMOUNT
               ENVIRONMENTAL HAZMAT FEE
                 Sub Total: .00

 #3 - MBTOWING: TOWING
        Caused by
        tow
      tow
      ENVIRONMENTAL/ HAZMAT FEE
        Sub Total: .00

 #4 - MBRECALL: RECALL
      perform recall 2020040019 - VS3BAUTOP
      Auto - p function
        Caused by
        completed recall 02-1813 0.1
      completed recall 02-1813 0.1

  #5 - MBRECALL: RECALL
       perform recall 2020040023 - VS3BRADVER
       front axle brake hose
         Caused by
         completed recall 02-1733 0.2 02-1796 0.1
       completed recall 02-1733 0.2 02-1796 0.1

  #6 - MBRECALL: RECALL
       perform recall 2020070011 - VS3DREHSIK
       front swivel seat wiring



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. 'I hereby authorize the repair                          LABOR
work hereinafter to be done along with the necessary metersl and agree that you are not
responsible for loss or damage to vehicle cr articles left in the vehicle in case of Sire theft, or any    PARTS
other cause beyond your control or for any delays caused by unavailability of parte or delays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to         DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing         SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle to secure
the amount at repairs •hereto'                                                                             SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims ell warranties either express or Implied,          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it ary liability in connection with the      SPECIAL ORDER DEPOSIT
Sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS DR SPECIAL ORDERS.
Oct 08 2020 02:04PM Rawhide Well Service, LLC 3075876237                                                                           page 16
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 27 of 43
                                                                                                                                             RIO Open Date               R.00 Number
                                                     3045 King Ave West                                                                      8/11/20                     6025957/3
                                                     Billings, MT 59102                                    SERVICE DEPARTMENT HOURS          RIO CIa     Date               Status
                                                                                                               7:30 a At, to 530 p.m,
                                                    (406)294-7000                                                                            8/20/20                 Pre-Invoic=
Mercedes-Benz                                        wmv.mbbillings.com
                                                                                                                  Monday - Friday
                                                                                                                                               Mileage In                Mileage Out
                    of Billings                                                                                                                2570                        2596
                                                                                                                                                       Service Advisor / Tag 4
                                                                                                                                             RYAN BURT
     I  ALCO, JOE                                                                                                   Work Phone                    Vehicle Identlicaticn Number
  PO BOX 2274                                                                                                                                  WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                 Delivery Date            lo Service Date
                                                                                                      307-250-1731                                                     7/11/19
     Year                         I
                                 Make   Model                                                                         Body                       Color                 License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                            3500XD STANDARD


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                          AMOUNT
         Cause• •y
         completed recall 02-1862 1.1 02-1863 0.1
       completed recall 02-1862 1.1 02-1863 0.1
  ************************************************************
  * Like us on Facebook, Google or Yelp for a chance to win *
  * your next service on us. A drawing will be held every    *
  * month.                                                   *
  ************************************************************




TERMS; STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair                           LABOR                                                                    .00
work hereinafter to be done along with the necessary material and agree that you are not
responsible for loss or damage to vehicle or articles left In the vehicle in case of fire, theft, or any   PARTS                                                                     .00
other cause beyond your control or for any delays caused by unavailability of parts or delays in
pads shipments by The supplier or transporter. I hereby grant you or your employees permission to           DEDUCTIBLE                                                               .00
operate the vehicle herein described on alree:a, highways, or elsewhere for the purpose of testing         SUBLET                                                                    .00
and/or inspection. An express mechanic's I en is hereby acknowledged on above vehicle to Secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES                                                             .00
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                      HAZARDOUS MATERIALS                                                      .00
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied,          SALES TAX OR TAX I.D.                                                     .00
including any implied warranty of merchantability or fitness for a particular purpose, and :he seller
neither assumes nor authorises any other person to assume for it any liability in connection with the      SPECIAL ORDER DEPOSIT                                                     .00
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS                                                                 .00
                                                                                                           TOTAL DUE                                                                 .00



       NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

 X
     MWarIMMTRAcirsys,Lis         Deal
Oct 08 2020 OHOPM Rawhide Well Service, LLC 3075876237                                                                                 page 7
                                      Case5
                                          19:21-cv-00091-DWM
                                                Time         Document
                                                               5bto P 3 Filed 08/19/21 Page 28 of 43
                                                                                                                                                 ROOffmDate               R/O Number
                                                            3045 King Ave. West                                                                 7/13/20                 6025655/
                                                             Billings, MT 59102                               SERVICE DEPARTMENT HOURS          RiO Close Date            Status
                                                                                                                  7i30 a.m. to 5i30 p.m.
    Mercedes-Benz                                           (406)294-7000
                                                            wenn.mbbIllings.com
                                                                                                                     Monday - Friday
                                                                                                                                                7/22/20
                                                                                                                                                  Mileage le
                                                                                                                                                                      Pre-Invoic
                                                                                                                                                                           Mileage Out
                       of Billings
                                                                                                                                                        SodoicoAdvittori -Utod

     MANISCALCO, JOE                                                                                                                            RYAN BURT
                                                                                                                     Work Pnene                      Vehicle Identification Number
     PO BOX 2274
     CODY, WY 82414                                                                                                                               WD PF4CDOKNO49811
                                                                                                                     Home Phone                  Delivery, Date          In-Service Dale

       Year
                                                                                                           307-250-1731
                  1                 Make                                     Model                                      Body                        Color
    2019                                                                                                                                                                License Number
                        MERCEDES-BENZ SPRINTER CAB                                                         3500XD STANDARD


              DESCRIPTION OE SERVICE AND PARTS
    Emai : josep pmanisca coagmai .com                                                                                                                                     AMOUNT


    #1 - MBNOISE: MBNOISE
          Customer states there is a knocking
                                                noise coming
         from the engine area. Please advi
                                             se
            Caused by
            performed noise locate and diag of
                                                 knocking
            noise/ performed short testing, no
                                                 fault codes
            were present. as per fts recommendati
                                                    on, removed
            lower oil pan to inspect for metal
                                                 shaving and or
            damage.removed lower oil pan, no dama
                                                    ge found, no
            problems were identified. performed
                                                  check for
            noise on upper engine area, inspecte
                                                  d injector
            actual values for adaptation corr
                                               ections and
            performed leak down testing.found inje
                                                     ctor leak
         Installed 003 989 98 20 10 :SEALANT
                                                 MB                                                                                             Qty:     1          Warranty
         Installed 611 017 00 60 :SEAL RING
         Installed 642 070 12 87 80 :REMAN INJE                                                                                                 Qty:     3          Warranty
                                                  CTOR F COMMO                                                                                  Qty:     2          Warranty
         Core Chg 642 070 12 87 70 :CORE INJE
                                                CTOR F COMMON                                                                                   Qty:     2          Warranty
         Installed 000 990 29 07 :SCREW W
                                            FLANGE                                                                                              Qty:     3          Warranty
         Installed 642 070 12 87 87 :REMAN INJE
                                                  CTOR F COMMO                                                                                  Qty:     1          Warranty
         Core Chg 642 070 12 87 70 :CORE INJE
                                                CTOR F COMMON                                                                                   Qty:     1          Warranty
         Installed 642 050 03 11 :CHAIN
                                          TIGHTENER                                                                                             Qty:     1          Warranty
         excessive, rtpla,...eu     end retested.
         knocking still present, removed engi
                                                ne cylinder
        head cove and inspected cams/
        and                 found excessive play in all



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS
                                                          ARE MADE. I hereby authorize the repair
work hereinafter to be done along with :he necessary                                                        LABOR
                                                              material and agree that you are not
responsible for loss or damage to vehicle or articles
                                                      left in the vehicle in case of fire. theft, or any    PARTS
other cause beyond your control or for any delays
                                                      caused by unavailability of parts or delays in
Parts shipments by tie supplier or transporter, I                                                           DEDUCTIBLE
                                                  hereby grant you or your employees permission to
operate the vehicle herein described on streets,
                                                  highways, or elsewhere for the purpose of testing
and/or inspection, An express mechanic's lien is hereby                                                     SUBLET
                                                           acknowledged on above vehicle to secure
the amount of repairs thereto."
                                                                                                            SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties                                                                    HAZARDOUS MATERIALS
                                                    on the products sold hereby are those made by
the manufacturer. The seller hereby expressly disclaims
                                                            all warranties either express or implied.       SALES TAX OR TAX I.D.
including any implied warranty of merchantability
                                                   or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for                                               SPECIAL ORDER DEPOSIT
                                                                  it any liability In connection wth the
 ale of said products. Any limitation contained herein does not apply
                                                                        where prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS
                                              OR SPECIAL ORDERS.

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  ,20,,BMALERTRA,SYS            -0.1er6hiDA0olioalfoLGrouo10001D45.10221
Oct 08 2020 02:OOPM Rawhide Well Service, LLC 3075876237                                                                            page 8

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                                                                                                                                              WO Open, Date            RD Number
                                                       3045 King Ave. West                                                                   7/13/20                   6025655/2
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS        R/O Close Date      I        Status
                                                                                                                 7:30 a.m. to 5:30 p.m,
                                                      (408)294-700D                                                                          7/22/20
  Mercedes-Benz                                        www.mbbillings.com
                                                                                                                    Monday - Friday
                                                                                                                                               Mileage In
                                                                                                                                                                     Pre-Invoic
                                                                                                                                                                        Mileage Or
                      of Billings
                                                                                                                                                     Service Advisor / Tag #
                                                                                                                                             RYAN BURT
       ISCALCO, JO                                                                                                   Vvork Phone                  Vehicle Identification Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                             WDAPF4CDOKNO49811
                                                                                                                     Home Phone                                       In-Service Date
                                                                                                        307-250-1731
                                                                             Model                                      Body                     Color                License Number
    2019               MERCEDES-BEN                           SPRINTER CAB                                  3500XD STANDARD


              DESCRIPTION OF SERVICE AND PARTS
                 roc er arms an. c earance o more t                                                                                                                     AMOUNT
                                                     an specs ie•
                 rocker arms can be wiggled and loosely pick
                                                              out
                 of cylinder head port holes without remov
                                                            ing
                 cams. as per directions of fts, replaced
                                                           cams and
                 all hydraulic elements and rocker
                 arms.reinstalled and rechecked for noise.on
                 initial starting, no noise present, after
                                                            running
                 for extended periods. the knocking retur
                                                          ned and
                 was present with fuel injector sequencing,
                 located the ignition knock to be the injec
                                                            tor
                 cylinder 1, replaced and re codded.

   #2 - MBRECALL: RECALL
        Perform recall 2020040019 - VS3BAUTOP
        Auto Park Function (Manual)
          Caused by
          completed recall 02-1813 0.1
        completed recall 02-1813 0.1

  #3 - MBRECALL: RECALL
       Perform recall 2020040023 - VS3BRADVER
       Front Axle Brake Hose
         Caused by
         completed recall 021773 0.2 02-1796 0.1
       completed recall 021773 0.2 02-1796 0.1

  #4 - MB01: PERFORM VEHICLE SAFETY INSPECTION.
                                                A 39.95 VALUE



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE
                                                                 MADE. 1 hereby authorize the repair        LABOR
work hereinafter tc be done along will the necessary material and
                                                                              agree that
responsible far loss or damage to vehicle cr articles left in the \replete in case of fire, you are not     PARTS
                                                                                            theft, or any
Other cause beyond your control or for any delays caused by unavailabilit
                                                                                y of parts or delays in
parts shipments by the supplier or transporter. I hereby grant                                              DEDUCTIBLE
                                                                 you or your employees permission to
operate the vehicle herein described on streets, highways, elsewhere
                                                              or             for the purpese of testing     SUBLET
andfor inspection. An express mechanic's I en is hereby acknowledged on
                                                                               above vehicle re secure
the amount of repairs 'hereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products Sold hereby
                                                                                   are those made by
                                                                                                            HAZARDOUS MATERIALS
the manufacturer. The setter hereby expressly disclaims all
                                                               warranties either express or implied,        SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a
                                                                   particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it any liability                              SPECIAL ORDER DEPOSIT
                                                                                in connection with the
sale of said products. Any limitation contained herein does not apply where prohibited
                                                                                         by law.            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

x
                                  •Aiwa.               MAI Acia
Oct 08 2020 02:01PM Rawhide Well Service, LLC 3075876237                                                                            page 9
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 30 of 43
                                                                                                                                              R/0 Open Date              RIO Number
                                                       3045 King Ave. West                                                                   7/13/20                     6025655/3
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS        RIO Close Date                 Status
                                                                                                                 7i30 am. to 5r30 p.m.
   Mercedes-Benz                                      (406)294.7000
                                                                                                                    Monday - Friday
                                                                                                                                             7/22/20                   Pre-Invoice
                                                       ww✓.mbbillings.com                                                                       Mileage In                Mileage Out
                      of Billings
                                                                                                                                               2327                        2333
                                                                                                                                                     Service civic.'    Tag ft

    MANISL.ALCO, JOE                                                                                                                         RYAN BURT
                                                                                                                     Work Phone                   Vehicle Identification Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                             WDAPF4CDOKNO49811
                                                                                                                     Home Phone               Delivery Date             In-Service Date
                                                                                                           307-250-1731
      Year       I                 Make                                     Model                                       Body                     Color
    2019                                                                                                                                                               License Number
                       MERCEDES-BENZ SPRINTER CAB                                                          3500XD STANDARD


              DESCRIPTION OF SERVICE AND PARTS
                       AT NO 'ST TO YO                                                                                                                                    AMOUNT

                   Caused by
                   inspection
                 inspection
                 ENVIRONMENTAL/ HAZMAT FEE
                   Sub Total: .00

    #5 - MBMILEAGE: MILEAGE IN/OUT BY
                                      TECHNICIAN
           Caused by
           after re coding injector , performed
                                                bench
           testing for noise and no further noise
                                                   was
           present, found the injectors were leaking
                                                      down
           excessive amounts and caused the vehicle
                                                     to smoke
           for extended period, performed regen
                                                and cleared
           all residue in exhaust, test drove to verif
                                                       y all
           drive ability and engine operations are
                                                    normal,
           no further noise concerns or drive
                                              ability
           concerns found. vehicle was returned to
                                                    customer.
         ENVIRONMENTAL/ HAZMAT FEE
           Sub Total: .00

  #6 - MBTOWING: TOWING
         Caused by
         rpo
       tow
       ENVIRONMENTAL/ HAZMAT FEE
         Sub Total: .00



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE
                                                                MADE, "I hereby authorize the repair        LABOR
work hereinafter to be done along with the necessary material
                                                                        and agree that you are not
responsible for loss or damage to vehicle or articles left in the
                                                                  vehicle in case of fire, theft, or any    PARTS
other cause beyonc your control or for any delays caused by
                                                                   unavailability of parts or delays in
Parts shipments by the supplier or transporter. I hereby grant                                              DEDUCTIBLE
                                                                yov or your employees permission 10
operate the vehicle herein described on streets, highways, or
                                                                elsewhere for the purpose of testing        SUBLET
and/or inspection. An express mechanic's Ilen is hereby acknowledg
                                                                        ed on abovevehicle lo secure
the amount of repairs thereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the
                                                           products sold hereby are those made by           HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all
                                                               warranties either express or implied,        SALES TAX OR TAXI!).
including any implied warranty of merchantability or fitness
                                                             for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume fork any liability                                SPECIAL ORDER DEPOSIT
                                                                               in connection with the
sale of said products. Any limitation contained herein does not
                                                                apply where prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY II-EMS
                                               OR SPECIAL ORDERS.

X
Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                              page 10
                                     Case 9:21-cv-00091-DWM
                                             •              Document 3 Filed 08/19/21 Page 31 of 43
                                                                                                                                                 RIO Open Date           RIO Number
                                                       3045 King Ave, West                                                                      7/13/20                  6025655/4
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS           RIO Close Date     I        Stott
                                                       (406)294-7000
                                                                                                                 7:3C  a.m. to 5:30
                                                                                                                                 p.n.
                                                                                                                                                7/22/20
  Mercedes-Benz                                                                                                     Monday - Friday
                                                                                                                                                                       Pre-Invoic
                                                       wmoombbillings.com                                                                          Mileage In             Mileage Out
                         of Billings


                                                                                                                                                RYAN BURT
        S 4 CO, JO                                                                                                   Work Phone                      Vehicle IdenTithotext Number
    PO BOX 2274
    CODY, WY 82414                                                                                                                                WDAPF4CDOKNO49811
                                                                                                                     Home Phone                  Delivery Date          In-Service Date
                                                                                                        307-250-1731
                                                                             Model
                                                                                                                                                    Color                    II: Number
    2019                 MERCEDES -BENZ SPRINTER CAB                                                        3500XD STANDARD


              DESCRIPTION OF SERVICE AND                       PARTS                                                                                                      AMOUNT

    #7 * MBADD: ADDED REPAIR
         ADDED OPERATION
           Caused by
           performed recheck of basic cam positioning and
           timing chain allocations, re sealed engine cover.
           5.6
         Tech: James McElroy       (107)
         Installed 642 050 00 80 :                                                                                                                                           924.00
         Installed 611 990 05 22 :
         Installed 611 990 00 10 :SCREW
                                                      HEAD                            11111111111,1!:.                                          24@46.80
                                                                                                                                                  342.44
                                                                                                                                                                            1123.20
                                                                                                                                                                               7.32
                                                                                                                                                  347.32                      21.96
         Installed 642 050 61 01 :
                                                                                                                                                14702.00                     702.00
         Installed 642 050 46 01 :
                                                                                                                                                14735.80                     735.80
         Installed 642 050 01 33 :
                                                                                                                                                 1436.90                      36.90
         Installed 642 050 01 33 :
                                                                                                                                                11436.90                     405.90
         performed recheck of basic cam p    ioning and
         timing chain allocations, re sealed engine
                                                    cover.
         5.6
         ENVIRONMENTAL/ HAZMAT FEE
           Sub Total: 3977.08                                                                                                                                                   20.00

  #8 * MBADD: ADDED REPAIR
       ADDED OPERATION
       Tech: James McElroy       (107)
       Installed 000 990 29 07 :SCREW W FLANGE                                                                                                                         Internal
       Installed 611 017 00 60 :SEAL RING                                                                                                                              Internal
       Installed 003 989 98 20 10 :SEALANT MB                                                                                                                          Internal
                                                                                                                                                                       Internal



TERMS: STRICTLYCASH UNLESS ARRANGEMENTS ARE MADE. 'I
                                                                         hereby authodze the repair         LABOR
work hereinafter to be done along with the necessary
                                                             material and agree that you are not
responsible for loss or damage to vehicle or ailiclea lea in the vehicle case                               PARTS
                                                                        in      of Ire, theft, or any
other cause beyond your control or for any ddays caused by unavailability
                                                                              of parts or delays in
pads shipments by the supplier or transporter. I hereby grant you or your employees                         DEDUCTIBLE
                                                                                      permission to
operate the vehic a herein described on streets, highways, or elsewhere for
                                                                             the purpose of testing         SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged
                                                                         on above vehicle to secure
the amount of repairs thereto'                                                                              SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby                                        HAZARDOUS MATERIALS
                                                                                      are those made by
the manufacturer. The seller hereby expressly disclaims es warranties either
                                                                                      express or implied.   SALES TAX OR TAX I.D.
Including any implied warranty of merchantability or fitness for a particular
neither assumes nor authorizes any other person to assume                        purpose, and he seller
                                                              for it any liability in connection with the   SPECIAL ORDER DEPOSIT
sale of said produsts. Any limitation containec herein does not apply where
                                                                                prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




       NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL
                                                          ORDERS,

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    1.110.651-0FagMAD,
Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                          page 11
                                   Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 32 of 43
                                                                                                                                             RIO Open Dale             RIO Number
                                                     3045 King Ave. West                                                                    7/13/20                    6025655/5
                                                     Billings, MT 59102                                   SERVICE DEPARTMENT HOURS           RIO Close Dote                  Status
                                                                                                              7:30 a.m. to 5:30 p.m.
                                                    (406)294-7000                                                                           7/22/20                Pre-Invoic
 Mercedes-Benz                                       www.mbbillings.com
                                                                                                                 Monday - Friday
                                                                                                                                               Mileage In            Mileage Out
                     of Billings
                                                                                                                                               2327                    2333
                                                                                                                                                     Service Advisor / Tag
                                                                                                                                            RYAN BURT
    MANI C   •, J•                                                                                                Work Phone                      Vehicle Identifical on Number
    PO BOX 2274
                                                                                                                                               WDAPF4CDOKNO49811
    CODY, WY 82414                                                                                               I ion le Phone               Delivery Dale           In-Service Dale
                                                                                                     307-250-1731
      Year      I                 Make                                    Model                                      Bed;                        Color               License Number
    2019              MERCEDES-BENZ SPRINTER CAB                                                         3500XD STANDARD


             DESORPTION OF SERVICE AND PARTS
                                                                                                                                                                        AMOUNT
                ENVIR0NMENTAL                            HAZMAT FEE
    ******               *****************
                                                                                                                                                                   Interna
                                                                            *          ** ******** * *** * **dr** ** A* * ***
   * Like us on Facebook, Google or Yelp for a chance
                                                      to win *
   * your next service on us. A drawing will be held every
   * month.
   ************************************************************




                                                                                                         Total Fees Amount                                                     20.00
TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair
work hereinafter to be done along with the necessary material and agree that you are                     LABOR                                                                924.00
                                                                                                   not
responsible for loss or damage to vends or articles left in the vehicle in case of fire. theft, or any   PARTS                                                               3033.08
other cause beyond your control or for any delays caused by unavailability of parts or delays in
Parts shipments by the supplier or transporter. I hereby grant you or your employees permission to       DEDUCTIBLE                                                              .00
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing
and/or inspection. Ar express mechanic's lien Is hereby acknowledged on above vehicle to secure
                                                                                                         SUBLET                                                                  .00
 re amount of repairs thereto."                                                                          SHOP SUPPLIES                                                         92.40
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                   HAZARDOUS MATERIALS                                                     .00
the manufacturer. The seller hereby expressly disclaims all warranties either express o' implied,
including any implied warranty of merchantability or Illness for a particular purpose, and the seller
                                                                                                         SALES TAX OR TAX I.D.                                                   .00
neither assumes nor authorizes any other person to assume for it any liability in connection with the    SPECIAL ORDER DEPOSIT                                                   .00
sale of said products. Any limitation contained herein does not apply where prohibited
                                                                                        by Ida.          DISCOUNTS                                                               .00
                                                                                                         TOTAL DUE                                                           4069.48



      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

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Oct 08 2020 02:02PM Rawhide Well Service, LLC 3075876237                                                                              page 12

                                                                                   ,A1 port
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 33 of 43
                                                                                                               Reipot 2                         R/0 Open Date             RIO Number

                                                     3045 King Ave, West                                                                        8/05/20                   6025903/1
                                                     Billings, MT 59102                                    SERVICE DEPARTMENT HOURS             Rio Close Date               Status
                                                                                                               7:30 a.m. to 5:30 p.m.
                                                    (406)294-7660                                                                               8/05/20               Pre-Invoic
Mercedes-Benz                                                                                                       Monday - Friday

                    of Billings
                                                     www.mbbillings.com                                                                           Mileage In              Mileage Out
                                                                                                                                                                                      a
                                                                                                                                                        Servico Advisor / Tag t

                                                                                                                                                RYAN BURT
  MANI ALC., JOE                                                                                                   Itiork Phone                      Vehicle ide-Ittkaliairqun
                                                                                                                                                                          Number
  PO BOX 2274                                                                                                                                     WDAPF4CDOKNO49B11
  CODY, WY 82414                                                                                                   Home Phone                    Delivery Date           In-Service Date
                                                                                                     307-250-1731                                                       7/11/19
    Year       I                 Make
                                                                                                                                                    Color               license Number
                     MERCEDES-BENZ


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                           AMOUNT
  Emai : josep pmanisca co@gmai .com

 #1             MBCEL: CUSTOMER STATES THAT THE CHECK ENGINE LIGHT IS ON
                  Caused by
                  perf rmed short testing, found codes for

                 performed testing as per fault code, checked
                 actual values of nox sensor/dpf soot content/
                 temp sensors/ dpf pressure sensor and adblue
                 fluid quality/fill level. no direct faults found.
                 reset adaptations and performed regen while
                 driving. no further cel active no further cel
                 on.no adblue malfunctions found no cel active no
               performed short test follow up after test drive,
               no codes found. all faults rectified and no
               further malfunctions found at this time. vehicle
               was returned to customer.
               ENVIRONMENTAL/ HAZMAT FEE
                 Sub Total: .00

 #2 - MBMILEAGE: MILEAGE IN/OUT BY. TECHNICIAN
        Caused by
        miles
      mies
      ENVIRONMENTAL/ HAZMAT FEE
        Sub Total: .00




TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair
                                                                                                           LABOR
work hereinafter to be done along with the necessary matenal and agree that you are not
responsible for loss or damage to vehicle or articles left in the vehicle in case of fire, theft, or any   PARTS
other cause beyond your control or for any delays caused by unavailability of parts or delays in
pads shipments by the supplier or transporter. I hereby grant you or your employees permission to          DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for ine purpose of testing         SUBLET
and/or inspection. An express mechanic's I.en is hereby acknowledged on above vehicle to secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied.          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for It any liability in connection with the      SPECIAL ORDER DEPOSIT
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.
Oct 08 2020 02:03PM Rawhide Well Service, LLC 3075876237                                                                            page 13
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 34 of 43
                                                                                                                                              R/0 Open Date
                                                                                                                                                                 111018:2111111
                                                     3045 Kng Ave. West                                                                       8/05/20                 6025903/2
                                                     Billings, MT 59102                                     SERVICE DEPARTMENT HOURS          RIO Close Dale             Sta k
                                                                                                                7:30 a.m. to 5:30 p.m.
                                                    (406) 294-7000                                                                            8/05/20              Pre -Invoice
Mercedes-Benz                                        www.mbbillings.com
                                                                                                                   Monday - Friday
                                                                                                                                                Mileage In             Mileage Out
                    of Billings                                                                                                                 2459                    2464
                                                                                                                                                      Service Advisor Tag A
                                                                                                                                              RYAN BURT
  MANISC LCO, JOE                                                                                                   \Nark Phone                    Vehicle Identdiczbon Number
  PO BOX 2274                                                                                                                                   WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                    Home Phone                 Delivery Dale         In-Service Date
                                                                                                      307-250-1731                                                   7/11/19
     Year                        Make                                      Model                                       Body                       Color              License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                            3500XD STANDARD R


            DESCRIPTION OF SERVICE AND PARTS                                                                                                                            AMOUNT
                MBTOWING: TOWING
                  Caused by
                  tow
                tow
                ENVIRONMENTAL/ HAZMAT FEE
                  Sub Total: .00
  ************************************************************

  * Like us on Facebook, Google or Yelp for a chance to win                                                                                       *
  * your next service on us. A drawing will be held every
  * month.
  ************************************************************




TERMS! STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. hereby authorize the repair                              LABOR                                                                 .00
work hereinafter to be done along witn The necessary material and agree that you are not
responsible for loss or damage to vehicle cr articles left In the vehicle in case of fire, theft, or any   PARTS                                                                  .00
other cause beyond your control or for any delays caused by unavailability Of parts or delays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to          DEDUCTIBLE                                                            .00
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing          SUBLET                                                                .00
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle to secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES                                                          .00
DISCLAIMER OF WARRANTIES, Any warranties on the products sold hereby are those made by                      HAZARDOUS MATERIALS                                                   .00
the manufacturer. The seller hereby expressly disclaims ell warranties either express or implied,           SALES TAX OR TAX I.O.                                                 .00
including any Implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it any liability in connection with the       SPECIAL ORDER DEPOSIT                                                 .00
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                            DISCOUNTS                                                             .00
                                                                                                           TOTAL DUE                                                              .00



      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.
Oct 08 2020 02:03PM Rawhide Well Service, LLC 3075876237                                                                           page 14
                                     Case 9:21-cv-00091-DWM Document 3 Filedgoer
                                         3 ka 1/A4                  5/4°P,
                                                                             08/19/21 Page Re
                                                                                           35 of 43
                                                                                                                                         -TheR.0 Open Date
                                                                                                                                                                  74
                                                                                                                                                                  -        RIO Number
                                       t-Se-rgeaterft. fera/"g 4-1347-4 '                                                          0,1       8/11/20                       6025957/1
                                                                   SERVICE
                                                     Billings, MT 59102                                            DEPARTMENT HOURS          RIO Close Date
                                                                                                               7:30 a.m. to 5:30 p.m.
                                                     (406) 294-7000                                                                          8/20/20
 Mercedes-Benz                                       wwW.mbbillings.com
                                                                                                                  Monday - Friday
                                                                                                                                                Mileage In
                    of Billings                                                                                                                2570                         2596
                                                                                                                                                     SeraceAdvisor/Tag
                                                                                                                                             RYAN BURT
  MANI   L 0, •                                                                                                        k Phone                     Vehicle icectif cation Number
  PO BOX 2274                                                                                                                                  WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                 Delivery Date            I   Servic Date
                                                                                                      307-250-1731                                                    7/11/19
     Year                         Make                                     Model                                     Rod'                         Color               License Number
  2019                MERCEDES-BENZ SPRINTER CAB                                                           3500XD STANDARD R


             DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                           AMOUNT
     mai : josep pmanisca co@ ma

  #1 - MBCEL: CUSTOMER STATES THAT THE CHECK ENGINE LIGHT IS ON
       Customer states vehicle has a code for DPF
       efficiency again. Please advise
         Caused by
         performed short testing, found def continent
         level high, performed check of regen history,
         found run time and regen not performed due tp
         prerequisites not met. reset adaptations and test
         drove, performed manual regen and reset scr
         adaptations. no further malfunctions were found
         at this time.
       performed short testing, found def continent
       level high, performed check of regen history,                                                                                                               5-e          ce
       found run time and regen not performed due tp                                                                                                                       Ad      Jo/C-
       prerequisites not met. reset adaptations and test
       drove, performed manual regen and reset scr
       adaptations. no further malfunctions were found
       at this time.
       ENVIRONMENTAL/ HAZMAT FEE                                                                                                                                       oLinso,,,1
         Sub Total: .00

  #2 - MBMILEAGE: MILEAGE IN/OUT BY TECHNICIAN
         Caused by
         miles
       miles



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE 'I hereby authorize tie repair
                                                                                                           LABOR
work hereinafter to be done along with the necessary material and agree that you are not
responsible far loss or damage to vehicle o" articles left in the vehicle in case of fire, theft, or any   PARTS
other cause beyond your control or for any celays caused by unavailability of parts or de ays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to         DEDUCTIBLE
operate the vehicle herein described an streets, highways, or elsewhere for the purpose of testing         SUBLET
and/or inspection. An express mechanic's Iler is hereby acknowledged on above vehicle to secure
the amount of repairs thereto:                                                                             SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties an the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied,          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, end the seller
neitherassumes nor authorizes any other person to assume for it any liability In connection with the       SPECIAL ORDER DEPOSIT
Sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPEC/AL ORDERS.
Oct 08 2020 02:04PM Rawhide Well Service, LLC 3075876237                                                                             page 15
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 36 of 43
                                                                                                                                               RIO Open Date             RIO Number

                                                    3045 King Ave West                                                                         8/11/20                   6025957/2
                                                    Billings, MT 59102                                    SERVICE DEPARTMENT HOURS             Ro0 Close Date
                                                                                                              7:30 a.m. to 5:30 p.m.
                                                   (406)294-7000                                                                               8/20/20
Mercedes-Benz                                       www.mbbillings.corn
                                                                                                                   Monday - Friday
                                                                                                                                                 Mileage In
                    of Billings                                                                                                                  2570                      2596
                                                                                                                                                       Service Advisor / Tag #

                                                                                                                                               RYAN BURT
  MANISCALCO, JOE                                                                                                  Work Phone                       Vehicle Idenlificatico Number
  PO BOX 2274                                                                                                                                    WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                   Delivery Date           In-Service Date
                                                                                                     307-250-1731                                                      7/11/19
    Year       I                 Make                                     Model                                      Budy                          Color               License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                           3500XD STANDARD R


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                          AMOUNT
               ENVIRONMENTAL HAZMAT FEE
                 Sub Total: .00

 #3 - MBTOWING: TOWING
        Caused by
        tow
      tow
      ENVIRONMENTAL/ HAZMAT FEE
        Sub Total: .00

 #4 - MBRECALL: RECALL
      perform recall 2020040019 - VS3BAUTOP
      Auto - p function
        Caused by
        completed recall 02-1813 0.1
      completed recall 02-1813 0.1

  #5 - MBRECALL: RECALL
       perform recall 2020040023 - VS3BRADVER
       front axle brake hose
         Caused by
         completed recall 02-1733 0.2 02-1796 0.1
       completed recall 02-1733 0.2 02-1796 0.1

  #6 - MBRECALL: RECALL
       perform recall 2020070011 - VS3DREHSIK
       front swivel seat wiring



TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. 'I hereby authorize the repair                          LABOR
work hereinafter to be done along with the necessary metersl and agree that you are not
responsible for loss or damage to vehicle cr articles left in the vehicle in case of Sire theft, or any    PARTS
other cause beyond your control or for any delays caused by unavailability of parte or delays in
parts shipments by the supplier or transporter. I hereby grant you or your employees permission to         DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of testing         SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle to secure
the amount at repairs •hereto'                                                                             SHOP SUPPLIES

DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                     HAZARDOUS MATERIALS
the manufacturer. The seller hereby expressly disclaims ell warranties either express or Implied,          SALES TAX OR TAX I.D.
including any implied warranty of merchantability or fitness for a particular purpose, and the seller
neither assumes nor authorizes any other person to assume for it ary liability in connection with the      SPECIAL ORDER DEPOSIT
Sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS
                                                                                                           TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS DR SPECIAL ORDERS.
Oct 08 2020 02:04PM Rawhide Well Service, LLC 3075876237                                                                           page 16
                                    Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 37 of 43
                                                                                                                                             RIO Open Date               R.00 Number
                                                     3045 King Ave West                                                                      8/11/20                     6025957/3
                                                     Billings, MT 59102                                    SERVICE DEPARTMENT HOURS          RIO CIa     Date               Status
                                                                                                               7:30 a At, to 530 p.m,
                                                    (406)294-7000                                                                            8/20/20                 Pre-Invoic=
Mercedes-Benz                                        wmv.mbbillings.com
                                                                                                                  Monday - Friday
                                                                                                                                               Mileage In                Mileage Out
                    of Billings                                                                                                                2570                        2596
                                                                                                                                                       Service Advisor / Tag 4
                                                                                                                                             RYAN BURT
     I  ALCO, JOE                                                                                                   Work Phone                    Vehicle Identlicaticn Number
  PO BOX 2274                                                                                                                                  WDAPF4CDOKNO49811
  CODY, WY 82414                                                                                                   Home Phone                 Delivery Date            lo Service Date
                                                                                                      307-250-1731                                                     7/11/19
     Year                         I
                                 Make   Model                                                                         Body                       Color                 License Number
  2019               MERCEDES-BENZ SPRINTER CAB                                                            3500XD STANDARD


            DESCRIPTION OF SERVICE AND PARTS
                                                                                                                                                                          AMOUNT
         Cause• •y
         completed recall 02-1862 1.1 02-1863 0.1
       completed recall 02-1862 1.1 02-1863 0.1
  ************************************************************
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  * your next service on us. A drawing will be held every    *
  * month.                                                   *
  ************************************************************




TERMS; STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize the repair                           LABOR                                                                    .00
work hereinafter to be done along with the necessary material and agree that you are not
responsible for loss or damage to vehicle or articles left In the vehicle in case of fire, theft, or any   PARTS                                                                     .00
other cause beyond your control or for any delays caused by unavailability of parts or delays in
pads shipments by The supplier or transporter. I hereby grant you or your employees permission to           DEDUCTIBLE                                                               .00
operate the vehicle herein described on alree:a, highways, or elsewhere for the purpose of testing         SUBLET                                                                    .00
and/or inspection. An express mechanic's I en is hereby acknowledged on above vehicle to Secure
the amount of repairs thereto."                                                                            SHOP SUPPLIES                                                             .00
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made by                      HAZARDOUS MATERIALS                                                      .00
the manufacturer. The seller hereby expressly disclaims all warranties either express or implied,          SALES TAX OR TAX I.D.                                                     .00
including any implied warranty of merchantability or fitness for a particular purpose, and :he seller
neither assumes nor authorises any other person to assume for it any liability in connection with the      SPECIAL ORDER DEPOSIT                                                     .00
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                           DISCOUNTS                                                                 .00
                                                                                                           TOTAL DUE                                                                 .00



       NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

 X
     MWarIMMTRAcirsys,Lis         Deal
QTY.                 MATERIAL                     Case 9:21-cv-00091-DWM
                                                PRICE  AMOUNT            Document 3 Filed 08/19/21 Page 38 of 43
                                                                                                                                                                     Of                   X10. 14727
       86IP/      g"                      Al4           #46
                                                                                               Park County RV, Inc.
                                                                                                                                                                     iJOB PHONE             DATE OF C       )F


                                                                                                                                                                                                                 2)
                                                                               Over 20+ Years Experience
       3" 1140,%41/3                                                             244 Blackburn Avenue
                                                                                                                                                                      JOB NAME/LOCATION




                                                                                 Cody, Wyoming 82414
/ a 3-Wc-                     Rder-                             c    (307) 527-GORY (4678) Fax (307) 587-6278
                                                                                     866-627-4678

                                                              CC!)   TO:
                                                                                           y                                                                                                PHONE


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                                                                            TERMS:




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                                                                                               LABOR                    HOURS         RATE           AMOUNT                 TOTAL MATERIAL             fy ix
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                                                                                (    (I eby acknowledge the satisfactory completion of th. .bove descri• • • ork.)
          (MAY BE CONTINUED ON OTHER SIDE.)
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                                                                               /1                      _,Cfrtfril   A 0, )I          IAAA:741.                        PAY THIS AMOUNT —0.-...›
                                                                                         RIO Open
                                      Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page  39 ofDate
                                                                                                    43                                                               WONmter
                                                                 3045 King Ave. West                                                      8/28/20                    6026143/1
                                                                 Billings, MT 59102                          SERVICE DEPARTMENT HOURS      R/0 Close Date               Status
                                                                                                                 7:30 a.m. to 5:30 p.m.    9/30/20               Reprint
                                                                (406) 294-7000
  Mercedes-Benz                                                  www.mbbillings.com
                                                                                                                    Monday - Friday
                                                                                                                                             Mileage In              Mileage Out
                       of Billings                                                                                                           2595                      2595
                                                                                                                                                   Service Advisor / Tag #
                                                                                                                                          RYAN BURT
    MANISCALCO, JOE                                                                                                  Work Phone                 Vehicle Identification Number
    PO BOX 2274                                                                                                                              WDAPF4CDOKNO49811
    CODY, WY 82414                                                                                                   Home Phone             Delivery Date           In-Service Date
                                                                                                         307-250-1731                                              7/11/19
      Year        I                  Make                                          Model                                Body                   Color               License Number
    2019                 MERCEDES-BENZ SPRINTER CAB                                                         3500XD STANDARD R


              DESCRIPTION OF SERVICE AND PARTS                                                                                                                        AMOUNT
    Erna'               losen nmanmsca
                                     __ coQll.
                                          ama
                                           _____ com

    #1 -                 MR MBDRIVE: DRIVEABLI''Y CONCERN
                 Customer states vehicle givin, r message for Adblue
                 system fault. Please advise
                         Corrected by 499068: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                             Warranty
                         Corrected by 499069: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                             Warranty
                         Corrected by 495915: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                            Warranty
                         Corrected by 075290: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                            Warranty
                         Corrected by 496661: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                            Warranty
                         Corrected by 071668: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                            Warranty
                         Corrected by 541011: 4905706)
                 Tech: Eddie Rogers(EDD)                                                                                                                            Warranty
                 Installed 000 490 14 41 :CLAM                                                                                              Qty:       1            Warranty
                 Installed 006 542 49 18 :OXYGEN SENSOR                                                                                     Qty:       1            Warranty
                 Installed 000000 000276 :SORE'IT                                                                                           Qty:       1            Warranty
                 Installed 906 995 02 02 :CLAMP                                                                                             Qty:       1            Warranty
                 Installed 123 994 13 45 :NUT                                                                                               Qty:       1            Warranty
                 Installed 907 490 01 00 :EXHA' TST SYSTEM                                                                                  Qty:       1            Warranty
                 Installed 219 492 00 80 :FLAn ;E GASKET                                                                                    Qty:       1            Warranty
                 Installed 000 990 67 03 :SCRE1                                                                                             Qty:       3            Warranty
                 Installed 000 905 91 12 :NOX ENSOR                                                                                         Qty:       1            Warranty
                 Installed 000 905 91 12 :NOX    ENSOR                                                                                      Qty:       1            Warranty

TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize
                                                                                              the riapair   LABOR
work hereinafter to be done along with the necessary material and agree
                                                                                    that you are. not
responsible for loss or damage to vehicle or articles left in the vehicle in case of fire,                  PARTS
                                                                                           theft, o' any
other cause beyond your control or for any delays caused by unavailability of parts
                                                                                           or delays in
parts shipments by the supplier or transporter. I hereby grant you or your employees
                                                                                         permissi )n to
                                                                                                            DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for the purpose of
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle
                                                                                                 testing    SUBLET
                                                                                              to st cure
the amount of repairs thereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are                                    HAZARDOUS MATERIALS
                                                                                      those mace by
the manufacturer. The seller hereby expressly disclaims all warranties either express or imF                SALES TAX OR TAX 1.D
                                                                                                 lied,
including any implied warranty of merchantability or fitness for a particular purpose,
                                                                                       and the t eller
neither assumes nor authorizes any other person to assume for it any liability in connection                SPECIAL ORDER DEPOSIT
                                                                                             witn the
sale of said products. Any limitation contained herein does not apply where prohibited
                                                                                        by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.

x
   (C1 2V)9 DEALERTRACK SYSTEMS   - Dealer-hip Aopheat,91 G,Q4,0 18-001 945-1028
                                   Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page
                                                                                      R/0 40
                                                                                          Openof 43
                                                                                               Date                                                                  WONumber
                                                       3045 King Ave. West                                                                8/28/20                    6026143/2
                                                       Billings, MT 59102                                    SERVICE DEPARTMENT HOURS      R/O Close Date              :Status
                                                                                                                 7:30 a.m. to 5:30 p.m.   9/30/20                  Reprint
                                                      (406)294-7000
  Mercedes-Benz                                        www.mbbillings.com
                                                                                                                     Monday - Friday
                                                                                                                                             Mileage In        I      Mileage Out
                      of Billings                                                                                                            2595                      2595
                                                                                                                                                   Service Advisor / Tag #
                                                                                                                                          RYAN BURT
    MANISCALCO, JOE                                                                                                  Work Phone                 Vehicle Identification Number
    PO BOX 2274                                                                                                                              WDAPF4CDOKNO49811
    CODY, WY 82414                                                                                                   Home Phone             Delivery Date           In-Service Date
                                                                                                         307-250-1731                                              7/11/19
                                                                             Model                                                             Color                License Number
    2019               MERCEDES-BENZ SPRINTER CAB                                                           3500XD STANDARD R


              DESCRIPTION OF SERVICE AND PARTS                                                                                                                        AMOUNT
                 Instd~~Cu A /1 /- '
                                   A A /1
                                    ±
                                    - .YV UV ;EAn.m.,.  b Y 5'1'Elvl                                                                        Qty: 1                   Warranty
                 Installed 000 995 11 33 :PROF :LE CLAMP F EXHAUST                                                                          Qty: 1                   Warranty
                 Installed 000 905 06 08 :SOOT PARTICULATE SENSOR                                                                           Qty: 1                   Warranty
                 ***wro*** tech edd- check and found ad blue
                 message on in cluster. no the :k engine light.
                 performed short test has code for scr efficiency.
                 created an PTSS case 00014970         as per FTS
                 replace o2 sensor and DPF. cl r.ked faults and
                 perform teach in of DPF and o ! sensor. test drove
                 and message came back. as per FTS replace both
                 nox sensors and perform teach in. clear fault and
                 test drive . message came bac'. on. as per FTS
                 replace scr and perform reset of all values.
                 teach in SCR and replace soot sensor ( soot
                 sensor threads stripped when 7emvi8ng from old
                 SCR) clear fault codes and to ;t drive ( 2 30 mile
                 trips.) no more messages in c _uster. returning
                 vehicle to client.

  #2                    MR MBMILEAGE: MILEAGE IN/OUT BY TECHNICIAN
                ENVIRONMENTAL/ HAZMAT FEE
                Sub Total: Labor: .00    Part$: .00   Total: .00
                2745

  #3 *                  MR MBTRIM: INTERIOR/E :TERIOR CONCERNS/REPAIRS
                ADDED OPERATION
                ENVIRONMENTAL/ HAZMAT FEE                                                                                                                           Internal
                Installed 910 725 11 00 :FT= ) SIDE WINDOW                                                                                                          Internal
                Replace window and seal.

TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby authorize
                                                                                              the epair     LABOR
work hereinafter to be done along with the necessary material and agree that you
                                                                                                are not
responsible for loss or damage to vehicle or articles left in the vehicle in case of fire, theft,           PARTS
                                                                                                  c- any
other cause beyond your control or for any delays caused by unavailability of parts or
                                                                                              delFys in
parts shipments by the supplier or transporter. I hereby grant you or your employees
                                                                                         permission to
                                                                                                            DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for the purpose
                                                                                              of tE sting   SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged on above vehicle to
                                                                                                  secure
the amount of repairs thereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products sold hereby are those made                         HAZARDOUS MATERIALS
                                                                                                    by
the manufacturer. The seller hereby expressly disclaims all warranties either express or                    SALES TAX OR TAX I.D.
                                                                                             implied,
including any implied warranty of merchantability or fitness for a particular purpose, and the
                                                                                                 eller
neither assumes nor authorizes any other person to assume for it any liability in connection                SPECIAL ORDER DEPOSIT
                                                                                             wit') the
sale of said products. Any limitation contained herein does not apply where prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDERS.
                                            Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page
                                                                                               RIO 41
                                                                                                   Openof 43
                                                                                                        Date                                                         RIO Number
                                                                      3045 King Ave. West                                                 8/28/20                    6026143/3
                                                                      Billings, MT 59102                     SERVICE DEPARTMENT HOURS      R/O Close Date      I        Status
                                                                                                                 7:30 a.m. to 5:30 p.m.   9/30/20
                                                                     (406)294-7000                                                                                 Reprint
  Mercedes-Benz                                                       www.mbbillings.com
                                                                                                                    Monday - Friday
                                                                                                                                             Mileage In               Mileage Out
                           of Billings                                                                                                       2595                      2595
                                                                                                                                                   Service Advisor / Tag #
                                                                                                                                          RYAN BURT
    MANISCALCO, JOE                                                                                                  Work Phone                 Vehicle Identification Number
    PO BOX 2274                                                                                                                              WDAPF4CDOKNO49811
    CODY, WY 82414                                                                                                   Home Phone             Delivery Date           In-Service Date
                                                                                                           307-250-1731                                            7/11/19
       Year          I                       Make                                     Model                             Body                   Color               _ License Number
    2019                     MERCEDES-BENZ SPRINTER CAB                                                    3500XD STANDARD R


                 DESCRIPTION OF SERVICE AND PARTS
        i—t tec—               1 rrh f •t aoor quarter
        glass and seal
   ********************************** *************************
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   * Like us on Facebook, Google or Y alp for a chance to win *
   • your next service on us. A drawi ig will be held every    *
   • month.                                                    *
   ********************************** ************************
                                                               *




TERMS: STRICTLY CASH UNLESS ARRANGEMENTS ARE MADE. "I hereby
                                                                                  authorize the riepair     LABOR
work hereinafter to be done along with the necessary material and agree
                                                                                    that you are not
responsible for loss or damage to vehicle or articles left in the vehicle in case                           PARTS
                                                                                  of fire, theft, or any
other cause beyond your control or for any delays caused by unavailability
                                                                                of parts or dela s in
parts shipments by the supplier or transporter. I hereby grant you or your
                                                                             employees permissi ri to       DEDUCTIBLE
operate the vehicle herein described on streets, highways, or elsewhere for
                                                                               the purpose of testing       SUBLET
and/or inspection. An express mechanic's lien is hereby acknowledged on
                                                                              above vehicle to secure
the amount of repairs thereto."                                                                             SHOP SUPPLIES
DISCLAIMER OF WARRANTIES. Any warranties on the products sold                                               HAZARDOUS MATERIALS
                                                                          hereby are those mace by
the manufacturer. The seller hereby expressly disclaims all warranties either
including any implied warranty of merchantability or fitness for a particular
                                                                                   express or imr lied,     SALES TAX OR TAX I.D.
                                                                              purpose, and the teller
neither assumes nor authorizes any other person to assume for it any liability                              SPECIAL ORDER DEPOSIT
                                                                                in connection with the
sale of said products. Any limitation contained herein does not apply where
                                                                              prohibited by law.
                                                                                                            DISCOUNTS
                                                                                                            TOTAL DUE




      NO RETURN ON ELECTRICAL OR SAFETY ITEMS OR SPECIAL ORDER.


   f CI 2009 DEALERTRACK SYSTEMS Inc - Denier:tic, ADDlicntion Group
                                                                     ($001 945-1028
Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 42 of 43




 EXHIBIT D
           Case 9:21-cv-00091-DWM Document 3 Filed 08/19/21 Page 43 of 43


                      LEMON LAW GROUP PARTNERS PLC
                                       Attorneys and Counselors at Law
                                       3323 NE 163rd Street, Suite 504
                                      North Miami Beach, Florida 33160
                                         _________________________
                                           Telephone (888) 415-0610
                                           Facsimile (888) 809-7010
                                 Email: info@lemonlawgrouppartners.com

                                                October 8, 2020
Jayco, Inc., Customer Service
903 S Main Street
P.O. Box 460
Middlebury, IN 46540

Re: Lelani Snyder & Joseph P Maniscalco
        Vehicle: 2020 Jayco Melbourne 24LP
        VIN: WDAPF4CD0KN049811

Dear Sir/Madam:

Please be advised that this law firm represents the legal interests of Lelani Snyder & Joseph P Maniscalco
relating to the purchase of the above-mentioned vehicle. Let this letter serve as notification that you
immediately cease and desist all communications with our client. The only exception is the dealership may
communicate with the client in reference to future repairs. Moreover, if you make any attempts to settle with
our client without including all statutory relief, including all damages attorney fees and costs the consumer is
entitled to, we may file suit against you. This letter hereby notifies you of our attorney’s lien with respect to
our client.

Please let this letter also serve as notification that our client’s vehicle is defective. The vehicle has been
brought in for repairs several times for numerous defects and although you have been afforded sufficient
opportunities for repairs, the defects continue to exist and substantially impair the use and value and/or safety
of the vehicle. If you are interested in any further repairs pursuant to the Lemon Law you must contact me
immediately. Our client demands that you immediately take action as required by law.

This letter shall also serve as our client’s Revocation of Acceptance pursuant to the Uniform Commercial
Code § 2608 and notice of defect under the Lemon Law. Due to the serious defects with the Vehicle since its
purchase, our client hereby demands a return of the full purchase price along with all interest paid on the
finance note as well as attorney fees and incidental and consequential damages within 10 days of receipt of
this letter to settle this matter prior to filing a lawsuit.

Please be advised that if you do not adhere to our demands within 10 days, our client has instructed me to file
a lawsuit against you asserting claims that include, but in no way are limited to, breach of warranties, both
express and implied, violation of the Magnuson Moss Warranty Act, violation of the Lemon Law, revocation
of acceptance, and common law breach of contract. Please direct all future communication to my attention.

                                                  Respectfully submitted,

                                              LEMON LAW GROUP PARTNERS PLC
                                              By: s/n Brooks Siegel _
                                              Attorney for Plaintiff
CC: Big Sky RV of Billings, 6708 S Frontage Rd, Billings, MT 59101
